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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION



In re:                                                 )
                                                       )           Chapter 7
                                                       )
NEW VISION REALTY & INVESTMENTS,                       )
INC.,                                                  )           Case No. 21-55752-PMB
                                Debtor.                )

                         LIMITED OBJECTION TO TRUSTEE’S
                   APPLICATION FOR APPOINTMENT OF ATTORNEYS

         COMES NOW, Normandy Capital Trust, a Delaware statutory trust, by and through its

trustee, Wilmington Savings Fund Society, FSB, d/b/a Christian Trust (“Lender”), and hereby

submits this Limited Objection to the Application for Appointment of Attorneys (the

“Application”) by the Chapter 7 Trustee (the “Trustee”).

         For the reasons detailed herein, and as further detailed in Lender’s previously filed papers,

Lender submits that the Application should not be granted because this is a two party-dispute and

the bankruptcy does not maximize the return to creditors such that the Trustee’s retention of

counsel is appropriate. Contemporaneously herewith, Lender is filing its motion to dismiss this

bankruptcy as a bad-faith filing. To the extent the bankruptcy is dismissed as a result of Debtor’s

bad-faith filing, the Trustee will not require counsel, and Lender hereby files this limited objection

to the Trustee’s employment of counsel on this ground. Furthermore, Lender objects to the

Trustee’s proposed counsel’s asserted right to increase his fee structure, because the legal issues

in this case are not complex.




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                            RELEVANT FACTS AND OBJECTION

       1.      Lender incorporates by reference the factual and procedural background and history

as detailed in its Motion for Stay Relief and its Objection to Debtor’s (withdrawn) Motion to

Extend the Stay.

       2.      Debtor’s sole asset is the real and personal property located at 2562 Meadow Lark

Drive, East Point, Georgia 30344 (the “Property”). The Property is valued at approximately

$175,000.00.

       3.      This bankruptcy, at its core, is a two-party dispute between Debtor and Lender,

arising out of Debtor’s two-year continuing default on a commercial mortgage loan. As of the

filing of the petition, Debtor owed $198,377.00 to Lender. Debtor does not reside in the Property

and has not made a payment to Lender on account of its mortgage loan since December 2020.

       4.      Lender is the holder and assignee of that certain Security Deed made by Debtor to

Patch of Land Lending (the “Security Deed”).

       5.      Additionally, according to its proof of claim [Claim No. 1], creditor KRT Properties

LLC allegedly holds a judgment lien against the Property in the amount of approximately

$88,000.00.

       6.      The Debtor has not scheduled debts owing to any additional creditors.

       7.      Lender is the largest single creditor of the estate (of two total creditors), holding a

claim in an amount more than double that of KRT Properties.

       8.      There are approximately $286,000.00 in secured claims at issue in this bankruptcy,

and the value of the estate is less than $200,000.00. It is not possible for both secured claimants

to be paid in full and there are no additional creditors to be paid.



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        9.      The Trustee asserts that the Security Deed is defective and that he requires counsel

in order to avoid any transfer arising out of the Security Deed and recover the interest in the

Property transferred or its value. [Application ¶ 7–8.]. However, as of the date of this Objection,

the Trustee has not sought to avoid the Security Deed and no adversary proceedings have been

filed in this case.

        10.     The only issue to resolve in this bankruptcy is in which order the two creditors

should be paid. There are no complex or nuanced legal issues for Trustee to resolve.

        11.     Trustee’s counsel proposes a fee structure with the reservation that the rates may

increase “during the term of the proposed employment” or “[d]epending on the complexity of the

legal issues” involved. [Application ¶ 14.] This open-ended, subjective proposition is unreasonable

and will quickly deplete the estate, to the detriment and at the expense of the two creditors.

        12.     Employment of counsel would serve no purpose in this matter other than to benefit

counsel themselves, at the expense of the two creditors of the estate.

Dated: September 13, 2021                             POLSINELLI PC

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